        Case 2:21-cv-01412-ART-EJY          Document 437-2   Filed 01/06/25   Page 1 of 2



 1   BOIES SCHILLER FLEXNER LLP
     RICHARD J. POCKER (NV Bar No. 3568)
 2   300 South Fourth Street, Suite 800
     Las Vegas, NV 89101
 3   Telephone: 702.382.7300
     Facsimile: 702.382.2755
 4   rpocker@bsfllp.com
 5   BOIES SCHILLER FLEXNER LLP
     SIGRID S. MCCAWLEY (admitted pro hac vice)
 6   401 E. Las Olas Blvd., Suite 1200
     Ft. Lauderdale, FL 33301
 7   Telephone: 954.356.0011
     smccawley@bsfllp.com
 8
     BOIES SCHILLER FLEXNER LLP
 9   SABINA MARIELLA (admitted pro hac vice)
     LINDSEY RUFF (admitted pro hac vice)
10   55 Hudson Yards
     New York, NY 10001
11   Telephone: 212.446.2300
     smariella@bsfllp.com
12   lruff@bsfllp.com
13   Attorneys for Plaintiffs Sage Humphries,
     Gina Menichino, RoseMarie DeAngelo,
14   Danielle Gutierrez, Jane Doe 1, and
     Jane Doe 2
15

16                               UNITED STATES DISTRICT COURT
17                                   DISTRICT OF NEVADA
18   SAGE HUMPHRIES, GINA MENICHINO,
     ROSEMARIE DeANGELO, DANIELLE
19   GUTIERREZ, JANE DOE 1,
     and JANE DOE 2                                Case Number: 2:21-cv-01412-ART-EJY
20
                   Plaintiffs,                     DECLARATION OF ROSEMARIE
21                                                 DEANGELO IN SUPPORT
            vs.                                    OF PLAINTIFFS’ MOTION FOR
22                                                 SUMMARY JUDGMENT
     MITCHELL TAYLOR BUTTON and
23   DUSTY BUTTON,
24                 Defendants.
25

26

27

28
                  DECLARATION OF ROSEMARIE DEANGELO IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
        Case 2:21-cv-01412-ART-EJY            Document 437-2         Filed 01/06/25      Page 2 of 2



 1   I, RoseMarie (Rosie) DeAngelo, declare as follows:
 2          1.      I am Rosie DeAngelo, a Plaintiff in the above-captioned action.
 3          2.      Defendants have filed a defamation counterclaim against me for the following
 4   statement, which was published in Cosmopolitan:
 5          Rosie wanted them to like her, so she decided to go with the flow. Even if it
 6          meant downplaying his unsettling attention. Like how he would insist on taking
            her out to lunch. And how he slid sexual innuendos into their conversations.
 7          Later, after he cornered her along, he manipulated her into believing that nothing
            bad was happening to her. He claimed it wasn’t illegal because he wasn’t that
 8          much older . . . He was her mentor; he told her it was okay.
 9          3.      This statement is true.

10          4.      I subjectively believe this statement is true.

11          5.      To the best of my knowledge and belief, I did not provide any information to

12   Cosmopolitan beyond information that was already accessible in my complaint against

13   Defendants.

14          I declare under penalty of perjury that the foregoing is true and correct to the best of my

15   knowledge and belief.

16   Dated: January 6, 2025

17                                                     /s/ Rosemarie DeAngelo
                                                       Rosemarie DeAngelo
18

19

20

21

22

23

24

25

26

27

28
                   DECLARATION OF ROSEMARIE DEANGELO IN SUPPORT OF
                      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
